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                       IN THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF NEW MEXICO

JOHNNY E. HERNANDEZ,

          Plaintiff,

v.                                                                   No. 22-cv-0838 JB-KRS


BOARD OF COUNTY COMMISSIONERS,

          Defendant,

                                  ORDER TO SHOW CAUSE

          This matter comes before the Court sua sponte because it appears Plaintiff Johnny

Hernandez severed contact with the Court. Hernandez filed a Civil Complaint (Doc. 1-1) while

detained at the Metropolitan Detention Center (MDC) in Albuquerque, New Mexico. The MDC

inmate locator website reflects Hernandez is no longer in custody, and he has not notified the Clerk

of Court regarding his current address as required by D.N.M. Local Civil Rule 83.6.             See

https://gtlinterface.bernco.gov/custodylist/Results.

          IT IS THEREFORE ORDERED that within thirty (30) days of entry of this Order,

Hernandez shall notify the Clerk in writing of his new address or show cause why this action

should not be dismissed. The failure to timely comply may result in dismissal without further

notice.




                                              ____________________________________
                                              UNITED STATES MAGISTRATE JUDGE
